UNITED STATES DISTRICT COURT
THE DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA )
)

V. ) No.: Cr. 21-CR-41-05-JL
)
)

NOBODY

NOTICE OF APPEARANCE

PLEASE TAKE NOTICE that CHRISTOPHER H. BROWN, ESQ., hereby enters this
Notice of Appearance on behalf of the Defendant, NOBODY, in the above-styled cause as trial

counsel,

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on June 2, 2021, a true and correct copy of the foregoing
was furnished by using the CM/ECF system with the Clerk of the Court, which will send notice
of the electronic filing to all interested parties, including the Office of the United States
Attorney.

Respectfully submitted,

Brown, Suarez, Rios & Weinberg, P.A.
Attorney for Defendant

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By__/s/ Christopher H. Brown
Christopher H. Brown
Fla. Bar No. 563447
